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                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN

FARM BUREAU MUTUAL INSURANCE,            )
COMPANY OF MICHIGAN, a Michigan          ) Case No. 17-cv-14044
Corporation, a/s/o New Flevo Dairy, Inc. )
                                         ) Judge Bernard A. Friedman
     Plaintiff,                          ) Magistrate Judge Elizabeth A.
                                         ) Stafford
v.                                       )
                                         )
                                         )
CNH INDUSTRIAL AMERICA, LLC d/b/a        )
CNH INDUSTRIAL AMERICA, LLC D/B/A        )
NEW HOLLAND AGRICULTURE, a Wisconsin )
Corporation,                             )
                                         )
     Defendant.                          )
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     INDEX OF EXHIBITS TO DEFENDANT’S MOTION TO EXCLUDE
        OPINIONS OF PLAINTIFF’S EXPERT JERRY DAHL, P.E.
EXHIBIT           DESCRIPTION

1.                Dahl Rule 26 Report

2.                Dahl Deposition

3.                Bernal Deposition

4.                Wilson Rule 26 Report




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